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                      ANNEX A

                    Interim Budget
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iMedia, Inc.
  Cash Collateral Budget Summary (in 000s of USD)
                                                 ‐1                0                 1                     1                  2
                               Month            Jun               Jun               Jul                   Jul                Jul              Total
                        Period Ending        FY2023‐P5         FY2023‐P5         FY2023‐P5            FY2023‐P5          FY2023‐P6           2‐Week
                      Actual/Forecast       Pre‐Petition      Pre‐Petition      Pre‐Petition         Post‐Petition      Post‐Petition        Forecast
                         Week Ending         06/17/23          06/24/23          07/01/23             07/01/23           07/08/23

Cash Receipts                           $           4,550 $           4,534 $           2,582 $              1,703 $            4,532    $       6,234
 Vendor Payments                                       69               962                  7                 175              2,454            2,629
 Payroll/Benefits                                      52             1,677                  3                 148                280              428
 Freight                                              912               606                 15                 ‐                  418              418
 Taxes                                                  2               582               490                  450              1,850            2,300
 Rent                                                 ‐                 378               ‐                    378                150              528
 Insurance                                              0               255                19                  732                ‐                732
Total Disbursements                                 1,036             4,460               533                1,883              5,152            7,034
Net Cash Flow                           $           3,514 $              75 $           2,048 $               (180) $            (620)            (800)

Pre‐Petition ABL Revolver
Beginning Revolver                    $            20,777 $          18,300 $          19,449 $             19,465 $           19,465    $      19,465
 Account Sweep                                     (4,157)           (4,787)           (2,582)                 ‐                  ‐                ‐
 Repayment                                            ‐                 ‐                 ‐                    ‐                  ‐                ‐
 Weekly Revolver Advances, Incl. Inte               1,680             5,936             2,598                  ‐                  ‐                ‐
Ending ABL Revolver Balance*          $            18,300 $          19,449 $          19,465 $             19,465 $           19,465    $      19,465



ABL Balance                                                                                      $          19,465 $           19,465
Gross AR                                                                                                    26,333             26,396
Gross Inventory                                                                                             67,856             65,661
Gross Collateral                                                                                            94,189             92,057
BBC Eligible Collateral                                                                                     29,645             28,489

% Cushion                                                                                                      20%                20%
Implied 20% Equity Cushion to BBC
Eligible Collateral                                                                                         23,358             23,358
Balance in Excess of Cushion                                                                                 6,286              5,131

* ABL Revolver Balance inclusive of disputed fees and expenses




                                                                                  6/29/2023                                                               Page 1
